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UNITED STATES DISTRICT COURT United States Courts
Southern District of Texas

FILED
OCT 30 2019

David J. Bradley, Clerk of Court

SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

UNITED STATES OF AMERICA § CRIMINAL NO.: ,
19CK 7
Vv. § g 0
§
JONAS TERRY, §
Defendant. §
INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE

Felon in Possession of a Firearm

 

On or about September 29, 2019, in the Houston Division of

the Southern District of Texas, the defendant,
JONAS TERRY,

having been convicted previously of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed
in and affecting commerce a firearm, namely, a Glock 9mm pistol
which had been shipped and traveled in interstate and foreign
commerce.

In violation of Title 18, United States Code, §§ 922(g) (1)

and 924(a) (2).
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COUNT TWO
Possession of a Machinegun

 

On or about September 29, 2019, in the Houston Division of

the Southern District of Texas, the defendant,
JONAS TERRY,

did knowingly possess a machinegun, namely, a Glock 9mm pistol
which had been modified to automatically shoot more than one
shot without manual reloading, by a single function of the
trigger.

In violation of Title 18, United States Code, §§ 922(0) (1)

and 924 (a) (2).
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Notice of Criminal Forfeiture

 

Pursuant to Title 18, United States Code, § 924(d)(1), the
United States of America hereby gives notice that all firearms
and ammunition involved in, or used in the commission of the
offense in violation of Title 18, United States Code, §
922(g) (1) charged in Count One are subject to forfeiture,
including, but not limited to, the following:

- A Glock Model 19, 9mm handgun, serial number BETB720;

- Multiple rounds of 9mm ammunition of various manufacture.

A TRUE BILL:
ORIGINAL SIGNATURE ON FILE

FURBMAN UP LONG GNAWY UUs

RYAN K. PATRICK
Unjeed States Attgrney

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CHARD D. HANES
Assistant United States Attorney

 
